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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                            Case No. 6:22-cr-00078-WWB-EJK

TERESA MCINTYRE

                      NOTICE OF MAXIMUM PENALTIES

      The United States of America, by Roger B. Handberg, United States Attorney

for the Middle District of Florida, hereby files this Notice of Maximum Penalties,

stating as follows:

      Count One of the Information charges the defendant with Conspiracy to Bribe

a Public Official, Submission of a False Claim, Theft of Government Property, and

Wire Fraud, in violation of 18 U.S.C. § 371. Doc. 1. Count One carries a maximum

sentence of 5 years imprisonment, a fine of not more than $250,000, or twice the gross

gain caused by the offense, or twice the gross loss caused by the offense, whichever is

greater, a term of supervised release of no more than 3 years, and a special assessment

of $100.

      With respect to certain offenses, the Court shall order the defendant to make

restitution to any victim of the offense, and with respect to other offenses, the Court

may order the defendant to make restitution to any victim of the offense, or to the

community, as set forth below. The defendant shall forfeit to the United States
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property pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), as outlined in

the Information.



                                        Respectfully submitted,

                                        ROGER B. HANDBERG
                                        United States Attorney


                                   By: /s/ Amanda S. Daniels
                                       Amanda S. Daniels
                                       United States Attorney
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U.S. v. TERESA MCINTYRE                        CASE NO. 6:22-cr-00078-WWB-EJK

                            CERTIFICATE OF SERVICE

       I hereby certify that on May 16, 2022, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Alan S. Diamond, esq.




                                         /s/ Amanda S. Daniels
                                         Amanda S. Daniels
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